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12
                                 UNITED STATES DISTRICT COURT
13
                                NORTHERN DISTRICT OF CALIFORNIA
14
                                    SAN FRANCISCO DIVISION
15

16
   Blizzard Entertainment, Inc., and Valve           CASE NO. 3:15-cv-04084-CRB
17 Corporation,
                                                     The Honorable Charles R. Breyer
18                Plaintiffs,
                                                     STIPULATION AND ORDER
19         v.                                        REGARDING PLAINTIFFS’ TIME TO
                                                     RESPOND TO UCOOL’S MOTION TO
20 Lilith Games (Shanghai) Co. Ltd., uCool, Inc.,    DISMISS FIRST AMENDED
   and uCool Ltd.,                                   COMPLAINT
21
                 Defendants.                         Discovery Cutoff:    None Set
22                                                   Pretrial Conference: None Set
                                                     Trial Date:          None Set
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                                                                           Case No. 3:15-cv-04084-CRB
                         STIPULATION AND [PROPOSED] ORDER REGARDING PLAINTIFFS’ TIME TO RESPOND
                                                 TO MOTION TO DISMISS FIRST AMENDED COMPLAINT
 1          Defendant uCool, Inc. (“uCool”) and Plaintiffs Blizzard Entertainment, Inc. and Valve

 2 Corporation (collectively “Plaintiffs”), by and through their respective attorneys, hereby submit

 3 the following Joint Stipulation, as follows:

 4          WHEREAS, Plaintiffs filed a First Amended Complaint on January 8, 2016;

 5          WHEREAS, the Parties previously conferred and agreed to extend Defendant uCool’s time

 6 respond to the First Amended Complaint to February 8, 2016 (Dkt. 39-40);

 7          WHEREAS, Defendant uCool filed a Motion To Dismiss the First Amended Complaint on

 8 February 8, 2016 (Dkt. 44);

 9          WHEREAS, the Parties have conferred and agreed to extend Plaintiffs’ time to oppose

10 uCool’s Motion To Dismiss the First Amended Complaint, and uCool’s time to file a reply in

11 support of said Motion To Dismiss;

12          WHEREAS, no other deadlines will be affected;

13          NOW THEREFORE IT IS HEREBY STIPULATED AND THE PARTIES JOINTLY

14 REQUEST that the deadline for Plaintiffs’ opposition to uCool’s Motion To Dismiss the First

15 Amended Complaint be extended until March 1, 2016, and the deadline for uCool’s reply in

16 support of its Motion To Dismiss be extended until March 14, 2016.

17             Respectfully submitted,                        Respectfully submitted,

18
19
      By:      /s/ Evette D. Pennypacker              By:     /s/ Marc E. Mayer
20             Evette D. Pennypacker                          Marc E. Mayer
               QUINN EMANUEL                                  MITCHELL SILBERBERG & KNUPP
21             URQUHART & SULLIVAN LLP                        LLP
               Attorneys for Defendant                        Attorneys for Plaintiffs Blizzard
22             uCool, Inc.                                    Entertainment, Inc. and Valve
                                                              Corporation
23    Dated:   February 22, 2016                     Dated:   February 22, 2016
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                                                    -1-                       Case No. 3:15-cv-04084-CRB
                          STIPULATION AND [PROPOSED] ORDER REGARDING PLAINTIFFS’ TIME TO RESPOND
                                                  TO MOTION TO DISMISS FIRST AMENDED COMPLAINT
 1                                   SIGNATURE ATTESTATION
 2          Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the

 3 filing of this document has been obtained from Marc E. Mayer.

 4

 5                         By:     /s/ Evette D. Pennypacker

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 7                         Dated: February 22, 2016

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10                                                ORDER
11          Defendant uCool, Inc. and Plaintiffs Blizzard Entertainment, Inc. and Valve Corporation

12 have stipulated to extend the deadline for Plaintiffs’ opposition to uCool’s Motion To Dismiss the

13 First Amended Complaint until March 1, 2016, and the deadline for uCool’s reply in support of its

14 Motion To Dismiss until March 14, 2016.

15          The requested extension is GRANTED. Plaintiffs’ opposition to uCool’s Motion To

16 Dismiss the First Amended Complaint will be filed no later than March 1, 2016, and uCool’s reply

17 in support of its Motion To Dismiss will be filed no later than March 14, 2016.

18
19          IT IS SO ORDERED.

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21 DATED:       February 22, 2016
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24                                                  Honorable Charles R. Breyer
                                                    UNITED STATES DISTRICT COURT JUDGE
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                                                     -2-                        Case No. 3:15-cv-04084-CRB
                          STIPULATION AND [PROPOSED] ORDER REGARDING PLAINTIFFS’ TIME TO RESPOND
                                                  TO MOTION TO DISMISS FIRST AMENDED COMPLAINT
